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UNITED STATES OF AMERICA,
Plaintiff,
v.
CG ROXANE, LLC,
dba “Crystal Geyser,”
UNITED PUMPING SERVICE, INC.,
and UNITED STORM WATER, INC.,

Defendants.

Case 2:18-cr-00448-DMG Document 1

 

 

 

The Grand Jury charges:

A. Defendants

 

doing business as “Crystal Geyser”

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2018 Grand Jury

eH ERD0 448 -SIC

INDICTMENT
[42 U.S.C. § 6928(d) (3): Omitting
Material Information and Making
Material False Statement; 42
U.S.C. § 6928(d) (1): Transporting
Hazardous Waste to Unpermitted
Facility; 49 U.S.C. § 5124:
Unlawful Transportation of
Hazardous Material; 18 U.S.C.

§ 2(b): Causing an Act to be Done]

INTRODUCTORY ALLEGATIONS

At all times relevant to this Indictment:

Ls Defendant CG ROXANE, LLC, a limited liability company,

(“defendant CRYSTAL GEYSER”),

produced drinking water under the name “Crystal Geyser” at its

bottling plant in Olancha, California.

 
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2. Defendants UNITED PUMPING SERVICE, INC. (“defendant UNITED
PUMPING”), a corporation, and UNITED STORM WATER, INC. (“defendant
UNITED STORM WATER”), a corporation, were affiliated and related

companies that shared the same address and phone number. Defendant
UNITED PUMPING provided transportation services for customers who
needed to transport their hazardous and non-hazardous waste, and
defendant UNITED STORM WATER provided, among other things,

environmental and lake draining services.

 

B. The Resource Conservation and Recovery Act
3. The Resource Conservation and Recovery Act (hereinafter
“RCRA”), Title 42, United States Code, Section 6901, et seg., was

enacted by Congress to require safe management of hazardous waste
from “cradle to grave,” including during the generation,
transportation, storage, and ultimate disposal of such waste.

4. Regulations promulgated under RCRA identified and listed
solid wastes that met the definition of “hazardous.” Waste could be
deemed “hazardous” under RCRA for a number of reasons, including if
the waste was ignitable, toxic, corrosive, or reactive, or if the
waste was specifically listed as a hazardous waste in the regulations
as a “listed” hazardous waste.

5. Wastes containing arsenic in concentrations of five
milligrams per liter (“mg/l”) or more were considered toxic hazardous
wastes under RCRA. 40 C.F.R. § 261.24. In addition, aqueous wastes
having a pH equal to or greater than 12.5 were considered corrosive
hazardous wastes under RCRA. 40 C.F.R. § 261.22.

6. One of the key devices that facilitated uniform enforcement

and compliance with the requirements of RCRA was the uniform

 
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hazardous waste manifest system. The uniform hazardous waste
manifest was a document that traveled with the hazardous waste and
accompanied all off-site hazardous waste shipments, unless an
exemption applied. The manifest was central to the “cradle to grave”
management system because it was intended to track the waste to its
final, legal destination. The manifest was the form used for
identifying the quantity, composition, origin, and destination of
hazardous waste during its transportation from the point of
generation to the point of disposal, treatment, or storage. 40
C.F.R. §8§ 262.20-23; 42 U.S.C. § 6903(12).

7. RCRA required the generator of a hazardous waste, who
transported or offered for transport a hazardous waste for offsite
treatment, storage, or disposal, to prepare a uniform hazardous waste
manifest according to specific instructions. Those instructions
required the generator to provide the proper shipping name, hazard
class or division, identification number, and packing group number
for each waste that was contained in the hazardous waste and
identified in Part 172 of Title 49 of the Code of Federal
Regulations. 40 C.F.R. § 262.20(a) (1) and Appendix to Part 262.

8. RCRA also prohibited knowingly transporting a hazardous
waste to a facility that lacked a permit to accept hazardous waste
and prohibited knowingly omitting material information or making a
false material statement on a document used or maintained for
purposes of compliance with certain RCRA regulations. 42 U.S.C.

§§ 6928(d) (1) and (3).

 
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Cc. The Hazardous Materials Transportation Act

9. The Hazardous Materials Transportation Act (*HMTA”), Title
49, United States Code, Section 5101 et seq. was enacted by Congress
to protect against the risks to life, property, and the environment
that are inherent in the transportation of hazardous materials in
intrastate, interstate, and foreign commerce. 49 U.S.C. § 5101.

10. Regulations promulgated under the HMTA identified and
listed materials that met the definition of “hazardous material.” 49
U.S.C. § 5102(2); 49 C.F.R. § 171.8.

11. “one of the key devices that facilitated enforcement and
compliance with the requirements of the HMTA was the shipping paper
requirement. Generally, under the HMTA, each person who offered a
hazardous material for transportation was required to describe the
hazardous material on a shipping paper by, among other things,
providing the hazardous material’s identification number, proper
shipping name, hazard class or division number, and packing group
number. 49 C.F.R. § 172.202(a).

D. Arsenic-Contaminated Wastewater Generated By Defendant CRYSTAL

GEYSER

12. In producing its drinking water products, defendant CRYSTAL
GEYSER would draw water from natural sources that contained
naturally-occurring arsenic.

13. Defendant CRYSTAL GEYSER would use sand filters to reduce
the concentration of arsenic in the water drawn from underground

wells so that the water met drinking water standards.

 
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14. In order to assure the efficacy of the sand filters,
defendant CRYSTAL GEYSER would regenerate the sand filters by back
flushing a hydroxide and water solution through the sand filters.

15. The regeneration process would cause the sand filters to
release arsenic into the hydroxide and water solution; consequently,
it would generate thousands of gallons of arsenic-contaminated
wastewater.

16. Defendant CRYSTAL GEYSER would discharge the arsenic-
contaminated wastewater into a nearby manmade pond which defendant
CRYSTAL GEYSER referred to as the Arsenic Pond.

17. In or about September 2014, testing by the California
Department of Toxic Substances Control (the “DTSC”) showed that the
arsenic-contaminated wastewater stored.in the Arsenic Pond
constituted a RCRA hazardous waste.

18. In or about October 2014, testing by the DTSC also showed
that arsenic-contaminated wastewater generated by the regeneration
process was a RCRA hazardous waste.

19. On or about March 20, 2015, instead of discharging into the
Arsenic Pond, defendants CRYSTAL GEYSER, UNITED PUMPING, and UNITED
STORM WATER transported, and caused the transportation of, several
thousand gallons of high pH, arsenic-contaminated wastewater, which
resulted from a regeneration of the sand filters, to a hazardous
waste facility within the County of Los Angeles. In transporting
that hazardous wastewater, and in causing the transportation of that

hazardous wastewater, defendants CRYSTAL GEYSER, UNITED PUMPING, and’

UNITED STORM WATER provided manifests that identified a waste code

 
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associated with high pH but did not disclose any information about
the arsenic content of the hazardous wastewater.

20. On or about April 13, 2015, in a preliminary list of
violations, DTSC informed defendant CRYSTAL GEYSER that the arsenic-
contaminated wastewater in the Arsenic Pond constituted a RCRA
hazardous waste and instructed defendant CRYSTAL GEYSER to remove
that wastewater from the Arsenic Pond and to transport it, using a
hazardous waste manifest, to an authorized facility that was
permitted to accept that hazardous waste.

21. These Introductory Allegations are hereby re-alleged and

incorporated into each and every count of this Indictment.

 
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COUNTS ONE THROUGH THREE
[42 U.S.C. § 6928(d) (3); 18 U.S.C. § 2(b)]

On or about the following dates, in Los Angeles County, within
the Central District of California, and elsewhere, defendants CRYSTAL
GEYSER, UNITED PUMPING, and UNITED STORM WATER knowingly omitted, and
willfully caused to be omitted, material information on a manifest
and other document filed, maintained, and used for purposes of
compliance with regulations promulgated by the Administrator of the
Environmental Protection Agency under Subchapter III of Chapter 82,
Title 42 of the United States Code. Specifically, defendants CRYSTAL
GEYSER, UNITED PUMPING, and UNITED STORM WATER knowingly omitted, and
willfully caused to be omitted, on the following uniform hazardous
waste manifests, the material fact that the hazardous wastewater
being transported into the Central District of California under that
manifest contained a material amount of arsenic waste, in violation

of Title 49, Code of Federal Regulations, Section 262.20(a) and the

Appendix to Part 262.

 

COUNT DATE UNIFORM HAZARDOUS WASTE MANIFEST NUMBER
ONE 3-20-15 012241746 JJK
TWO 3-21-15 012241747 JUK
THREE 3-23-15 012241748 JJK

 

 
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COUNT FOUR
[42 U.S.C. § 6928(d) (1) ]

Between on or about May 11, 2015, and May 14, 2015, in Los
Angeles County, within the Central District of California, and
elsewhere, defendants CRYSTAL GEYSER, UNITED PUMPING, and UNITED
STORM WATER knowingly transported, and caused to be transported,
toxic hazardous waste, namely, the liquid content of defendant
CRYSTAL GEYSER’s Arsenic Pond, containing five or more milligrams per
liter of arsenic to a facility in Fontana, California, that, as
defendants CRYSTAL GEYSER, UNITED PUMPING, and UNITED STORM WATER
then knew, lacked a permit under Title 1 of the Marine Protection,
Research, and Sanctuaries Act, 33 U.S.C. § 1411, et seq., or under

Subchapter III of Chapter 82 of Title 42 of the United States Code.

 
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COUNTS FIVE THROUGH TEN
[42 U.S.C. § 6928(d) (3); 18 U.S.C. § 2(b)]

On or about the following dates, in Los Angeles County, within

the Central District of California, and elsewhere, defendants CRYSTAL

‘GEYSER, UNITED PUMPING, and UNITED STORM WATER, on a manifest and

other document filed, maintained, and used for purposes of compliance
with regulations promulgated by the Administrator of the
Environmental Protection Agency under Subchapter III of Chapter 82 of
Title 42 of the United States Code: (a) knowingly omitted, and
willfully caused to be omitted, material information, namely, that
wastewater being transported to the Central District of California
contained arsenic hazardous waste; and (b) knowingly made, and
willfully caused to be made, the material false statement that the
wastewater was not subject to federal regulations for reporting
proper disposal of hazardous waste, when, in fact, as defendants
CRYSTAL GEYSER, UNITED PUMPING, and UNITED STORM WATER well knew, the
wastewater was a toxic hazardous waste that was subject to federal

regulations for reporting proper disposal of hazardous waste.

 

 

COUNT DATE NON-HAZARDOUS WASTE MANIFEST NUMBER
FIVE May 11, 2015 112300
SIX May 12, 2015 113103
SEVEN May 12, 2015 113104
EIGHT May 13, 2015 113105
NINE May 13, 2015 113106
TEN May 14, 2015 107967

 
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COUNTS ELEVEN THROUGH SIXTEEN
[49 U.S.C. § 5124; 18 U.S.C. § 2(b)]

On or about the following dates, in Los Angeles County, within
the Central District of California, and elsewhere, defendants CRYSTAL
GEYSER, UNITED PUMPING, and UNITED STORM WATER willfully and
recklessly transported and offered to transport, and willfully caused
to be transported and offered to be transported, a hazardous
material, namely, wastewater contaminated with arsenic, unlawfully,
by: (a) using, and willfully causing the use of, the shipping papers
described below that did not provide the hazardous material's
identification number, proper shipping name, hazard class, or
division number, and packing group number, in violation of Title 49,
Code of Federal Regulations, Sections 172.200 and 172.202(a); and (b)
failing to prepare, sign, carry, and give, and willfully causing the
failure to prepare, sign, carry, and give, an EPA Form 8700-22
hazardous waste manifest, in violation of Title 49, Code of Federal

Regulations, Section 172.205.

 

COUNT DATE NON-HAZARDOUS WASTE MANIFEST NUMBER
ELEVEN May 11, 2015 112300
TWELVE May 12, 2015 113103
THIRTEEN May 12, 2015 113104

FOURTEEN May 13, 2015 113105

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COUNT DATE
FIFTEEN May 13, 2015
SIXTEEN May 14, 2015

NICOLA T. HANNA
United States Attorney

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LAWRENCE S. MIDDLETON

NON-HAZARDOUS WASTE MANIFEST NUMBER
113106

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Foreperson

Assistant United States Attorney

Chief, Criminal Division

MARK A. WILLIAMS

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DENNIS MITCHELL

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Acting Deputy Chief,
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Assistant United States Attorneys

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Safety Crimes Section

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